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                                   EXHIBIT A
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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000


Detailed Product Information
PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,5X5, PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC/HRI/UPC:                          00054-8404-11
SIZE:                                 2.500 ml 25s
DEA Class:                            RX
UNIT DOSE (Y/N):                      Y
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   44.06                    0.7050           2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,6X5 PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC/HRI/UPC:                          00054-8404-13
SIZE:                                 2.500 ml 30s
DEA Class:                            RX
UNIT DOSE (Y/N):                      Y
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   52.87                    0.7049           2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,12X5,PROTECTAPAK)

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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000

GENERIC
      IPRATROPIUM
        NAME:     BROMIDE

NDC/HRI/UPC:                          00054-8404-21
SIZE:                                 2.500 ml 60s
DEA Class:                            RX
UNIT DOSE (Y/N):                      Y
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 105.74                     0.7049           2/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001


Detailed Product Information
PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,5X5, PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC/HRI/UPC:                          00054-8404-11
SIZE:                                 2.500 ml 25s
DEA Class:                            RX
UNIT DOSE (Y/N):                      Y
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   44.06                    0.7050           2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,6X5 PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC/HRI/UPC:                          00054-8404-13
SIZE:                                 2.500 ml 30s
DEA Class:                            RX
UNIT DOSE (Y/N):                      Y
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   52.87                    0.7049           2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,12X5,PROTECTAPAK)

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Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001

GENERIC
      IPRATROPIUM
        NAME:     BROMIDE

NDC/HRI/UPC:                          00054-8404-21
SIZE:                                 2.500 ml 60s
DEA Class:                            RX
UNIT DOSE (Y/N):                      Y
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 105.74                     0.7049           2/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: APRIL, 2001


Detailed Product Information
PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,5X5, PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC/HRI/UPC:                          00054-8404-11
SIZE:                                 2.500 ml 25s
DEA Class:                            RX
UNIT DOSE (Y/N):                      Y
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   44.06                    0.7050           2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,6X5 PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC/HRI/UPC:                          00054-8404-13
SIZE:                                 2.500 ml 30s
DEA Class:                            RX
UNIT DOSE (Y/N):                      Y
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   52.87                    0.7049           2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,12X5,PROTECTAPAK)

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Red Book(TM) for Windows®                                                                         Release: APRIL, 2001

GENERIC
      IPRATROPIUM
        NAME:     BROMIDE

NDC/HRI/UPC:                          00054-8404-21
SIZE:                                 2.500 ml 60s
DEA Class:                            RX
UNIT DOSE (Y/N):                      Y
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 105.74                     0.7049           2/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: July, 2001


Detailed Product Information
PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,5X5, PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC:                00054-8404-11
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           Y
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   44.06                    0.7050           2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,6X5 PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC:                00054-8404-13
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           Y
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   52.87                    0.7049           2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,12X5,PROTECTAPAK)

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Red Book(TM) for Windows®                                                                         Release: July, 2001

GENERIC
      IPRATROPIUM
        NAME:     BROMIDE

NDC:                00054-8404-21
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           Y
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 105.74                     0.7049           2/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001


Detailed Product Information
PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,5X5, PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC:                00054-8404-11
SIZE:                      2.500 ml 25s
DEA Class:                 RX
UNIT DOSE (Y/N):           Y
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                        UNIT         EFF. DATE
AWP                                   44.06                     0.7050          2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,6X5 PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC:                00054-8404-13
SIZE:                      2.500 ml 30s
DEA Class:                 RX
UNIT DOSE (Y/N):           Y
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                        UNIT         EFF. DATE
AWP                                   52.87                     0.7049          2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,12X5,PROTECTAPAK)
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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001

GENERIC
      IPRATROPIUM
        NAME:     BROMIDE

NDC:                00054-8404-21
SIZE:                      2.500 ml 60s
DEA Class:                 RX
UNIT DOSE (Y/N):           Y
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                        UNIT         EFF. DATE
AWP                                  105.74                     0.7049          2/1/1999
DIR
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Red Book(TM) for Windows®                                                                         Release: January, 2002


Detailed Product Information
PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,5X5, PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC:                00054-8404-11
SIZE:                      2.500 ml 25s
DEA Class:                 RX
UNIT DOSE (Y/N):           Y
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   44.06                    0.7050           2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,6X5 PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC:                00054-8404-13
SIZE:                      2.500 ml 30s
DEA Class:                 RX
UNIT DOSE (Y/N):           Y
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   52.87                    0.7049           2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,12X5,PROTECTAPAK)

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Red Book(TM) for Windows®                                                                         Release: January, 2002

GENERIC
      IPRATROPIUM
        NAME:     BROMIDE

NDC:                00054-8404-21
SIZE:                      2.500 ml 60s
DEA Class:                 RX
UNIT DOSE (Y/N):           Y
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 105.74                     0.7049           2/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: APRIL, 2002


Detailed Product Information
PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,5X5, PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC:                00054-8404-11
SIZE:                      2.500 ml 25s
DEA Class:                 RX
UNIT DOSE (Y/N):           Y
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   44.06                    0.7050           2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,6X5 PROTECTAPAK)
GENERIC NAME:                         IPRATROPIUM BROMIDE

NDC:                00054-8404-13
SIZE:                      2.500 ml 30s
DEA Class:                 RX
UNIT DOSE (Y/N):           Y
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   52.87                    0.7049           2/1/1999
DIR
HCFA



PRODUCT:                              IPRATROPIUM BROMIDE-NOVAPLUS
MANUFACTURER:                         Roxane
FORM:                                 SOLUTION
STRENGTH:                             0.02%
ROUTE OF ADMIN:                       INHALATION
ORANGE BOOK CODE:                     AN
ADD'L DESC:                           (S.D.V.,12X5,PROTECTAPAK)

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Red Book(TM) for Windows®                                                                         Release: APRIL, 2002

GENERIC
      IPRATROPIUM
        NAME:     BROMIDE

NDC:                00054-8404-21
SIZE:                      2.500 ml 60s
DEA Class:                 RX
UNIT DOSE (Y/N):           Y
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 105.74                     0.7049           2/1/1999
DIR
HCFA




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